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                                 United States District Court
                                      SOUTHERN DISTRICT OF GEORGIA
                                           BRUNSWICK DIVISION

                           CHANGE OF PLEA/ENTRY OF PLEA MINUTES


Case No. CR523-7
United States of America
              vs.                                                  Greg Gilluly
                                                                   ____________________________________
JC Longoria Castro
                                                                   U. S. Attorney
2:34 - 3:08
___________________________                                        Brian Tanner
                                                                   ____________________________________
                                                                   Attorney for Defendant
 Defendant/Age


    ✔ Plea agreement (Received).                 ✔ Defendant Sworn               Counsel Waived.

         Plea agreement previously filed.

         Arraigned and plead _______________________ to count(s) _________________________________ .
    ✔ Plea of not guilty withdrawn and plea of _________________________________
                                                             Guilty              entered as to count(s)
                     one
         ____________________________        information.
                                      of the indictment/information.
    ✔ Factual basis Established. Oral. Plea
                    __________________      Accepted Witness for factual basis ____________________
                                       ____________                            S/A Bourp            .
    ✔ Adjudication of guilt ________
                             Made.
    ✔ Referred to probation office for pre-sentence investigation Yes.
                                                                  ____
    ✔ Sentencing Scheduled for _________________________
                                       Later date                        TBD
                                                         at ______________________________ .
    ✔ Bond Continued           Yes.
                               ____           Bond modified to _________________________ .

         Bond set at _____________________      _________

         Bond not made defendant in jail.

         Defendant remanded to custody of United States Marshal.




Honorable Lisa Godbey Wood, U. S. District Court Judge             Date 07/25/2023
Court Reporter          Debra Gilbert                              Probation Officer Railling
Courtroom Deputy Clerk        Whitney Sharp                        U.S. Marshal Jason
